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                                                                                                      E-FILED
                                                                   Tuesday, 04 February, 2025 10:59:35 AM
                                                                              Clerk, U.S. District Court, ILCD

                         IN THE UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                   URBANA DIVISION
Rebecca Kistler Ramey,                        )
                                              )
                       Plaintiff,             )
                                              )
v.                                            )      Case No. 24 cv 2194
                                              )
Board of Education of Champaign Unit 4 )
School District; Dr. Sheila E. Boozer, in her )
Individual Capacity; Kenneth L. Kleber, in )
his Individual Capacity; and Dr. Laura        )
Taylor, in her Individual Capacity;           )
                                              )
                       Defendants.            )

                    DEFENDANTS’ CERTIFICATE OF COMPLIANCE

       Defendants BOARD OF EDUCATION OF CHAMPAIGN COMMUNITY UNIT

SCHOOL DISTRICT NO. 4 (“the Board”), SHELIA BOOZER, KEN K LEBER and LAURA

TAYLOR by and through their attorneys and pursuant to Judge Long’s Order dated January 13,

2025 [Dkt 13] hereby certifies that they served on Plaintiff by electronic mail, Defendants’ Rule

26(a)(1) Disclosures on the 3rd day of February, 2025 and will file this certificate with the Court

using the CM-ECF Filing System.

                                                     Respectfully submitted,

                                                     BOARD OF EDUCATION OF
                                                     CHAMPAIGN COMMUNITY UNIT
                                                     SCHOOL DISTRICT NO. 4, SHELIA
                                                     BOOZER, KEN KLEBER and LAURA
                                                     TAYLOR, Defendants.

                                                     By: /s/ Tracey L. Truesdale
                                                             One of Their Attorneys
Caroline K. Kane (ARDC No. 6324144
ckk@franczek.com
Tracey L. Truesdale (ARDC No. 6207891
tlt@franczek.com
Hailey M. Golds (ARDC No. 6312907)


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hmg@franczek.com
Franczek P.C.
300 South Wacker Drive, Suite 3400
Chicago, IL 60606
(312) 986-0300

Dated: February 4, 2025




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                                 CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that she caused a true and correct copy of the

foregoing DEFENDANTS’ CERTIFICATE OF COMPLIANCE to be filed with the Clerk of

the Court by using the CM ECF Filing System which will electronically serve a copy upon the

parties of record on this 4th day of February, 2025:

                                      Ronald S. Langacker
                                      Langacker Law, Ltd.
                                      210 N. Broadway
                                      Urbana, Illinois 61801
                                      (217) 954-1025
                                      ron@langackerlaw.com

                                                       /s/ Tracey L. Truesdale
                                                               tlt@franczek.com




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            2:24-cv-02194-CSB-EIL           # 15     Filed: 02/04/25    Page 4 of 4




                                 CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that she caused a true and correct copy of the

foregoing DEFENDANTS’ RULE 26(a)(1) DISCLOSURES to be served electronically upon

the parties of record on this 3rd day of February, 2025:

                                      Ronald S. Langacker
                                      Langacker Law, Ltd.
                                      210 N. Broadway
                                      Urbana, Illinois 61801
                                      (217) 954-1025
                                      ron@langackerlaw.com

                                                      /s/ Tracey L. Truesdale
                                                              tlt@franczek.com




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